                            Case 3:21-cv-10432-MAS-DEA Document 1-1 Filed 04/29/21 Page 1 of 3 PageID: 13
                                                          Exhibit A to the Complaint
Location: Plainsboro, NJ                                                                             IP Address: 173.72.0.175
Total Works Infringed: 25                                                                            ISP: Verizon Fios
 Work      Hashes                                                                 UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                             04-17-     Tushy          04-21-2018    05-23-2018   PA0002101309
           B9E42225E594D4EE836418B3C03441D7691BDBAB                               2021
           File Hash:                                                             18:14:13
           5EA234F8EC39BB36C43F68E6292B2B40D7C456BADD6AEFC359573224175E6452
 2         Info Hash:                                                             04-17-     Vixen          09-01-2018    11-01-2018   PA0002143431
           614B7983C363991697DCE77186A7888DFD67F5D1                               2021
           File Hash:                                                             18:14:12
           291B19F8A7A8DC044E71487AE789ED36CB594C8A9982890EF32ADD1187F6E4B2
 3         Info Hash:                                                             04-17-     Blacked        12-20-2018    01-22-2019   PA0002147906
           D3247CC518A04F75FC1AE5FE72A890E40B473D5A                               2021       Raw
           File Hash:                                                             18:14:12
           10F38DCEF6015909101932B11D86ECFEDCA1957B5B105421880C4D375D129167
 4         Info Hash:                                                             04-17-     Blacked        03-21-2020    04-15-2020   PA0002246170
           6A3ECEBE78BF7F672C2BE2B09625886EB8FAEC19                               2021
           File Hash:                                                             18:14:12
           FB72278C5D5147EAD5F514397207DB4D8503BB87A38D7B2D1F3FA196F6B9BE5C
 5         Info Hash:                                                             04-17-     Vixen          08-22-2019    09-17-2019   PA0002216215
           7AB94114ACD5F6F0B2B31183637890C17432967B                               2021
           File Hash:                                                             06:01:27
           D50D38443EB851E359558EEA97D6D3C3AA1E83530AFA07DBDA7111F51D73FB86
 6         Info Hash:                                                             04-17-     Blacked        12-26-2020    01-05-2021   PA0002269952
           1353D50C4EAEEB48592F06761F7D1B8F76078E67                               2021
           File Hash:                                                             05:57:20
           EE783E0A07A576007187F56864AB35D1759FDA96881F1892692F4A92BD2B6AE0
 7         Info Hash:                                                             04-17-     Vixen          02-23-2019    04-29-2019   PA0002169931
           D95E7A69AFB7C11DE40F9CD0E4BDC1C940C30E74                               2021
           File Hash:                                                             05:57:16
           EA3A26187CAEF8E1E3C64012EA08BB3CE75D4D18FCDDCFA2A5E92BEF7112E0B0
 8         Info Hash:                                                             04-16-     Blacked        02-21-2020    03-18-2020   PA0002241534
           E8C76AFAEE524EDA7329CCD73D6045D01D33A134                               2021       Raw
           File Hash:                                                             20:48:59
           7C71A9E4E2E7072F27DBC564C777B946B5A8327482E38309774C84B06DA8126B
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         04-15-     Vixen     05-09-2019   06-03-2019   PA0002178768
       DF56BDE9D834D954D39427594F8353668FF7DBBE                           2021
       File Hash:                                                         18:48:02
       F530C16B43C2EDF6B76D3C296E37E935FD5316C1D52731811036D6259E5FF417
10     Info Hash:                                                         04-15-     Vixen     01-09-2019   02-02-2019   PA0002155377
       E41C90221769A1961A5EC20D3FD99801CA822C65                           2021
       File Hash:                                                         18:46:10
       D90C0BB94C6B4909EBE8B787F6EC395AE0BF45587AB3967F242653BAEF49DDC2
11     Info Hash:                                                         04-15-     Vixen     06-28-2019   08-27-2019   PA0002213233
       9F86DBA6E4E74687808F518164F8D891ABCCBF4A                           2021
       File Hash:                                                         18:45:06
       ED5FE8508EFF80F11C3CB5809A5044EAECBE13611CA4B76B8B8B0D2B7B81A059
12     Info Hash:                                                         04-05-     Blacked   08-03-2019   09-10-2019   PA0002199412
       FE39146F9DAF4014E1B016D7A4A99B25F4BAE402                           2021
       File Hash:                                                         20:35:58
       B537777134FFFE0A3C4ED930D7E2EE8EBA2DEEF32DA1B6AA08E0ABA59EC6D2FB
13     Info Hash:                                                         03-27-     Tushy     03-22-2020   04-15-2020   PA0002244961
       912753D1A980BA2186A49092BDE770DCD574F725                           2021
       File Hash:                                                         03:03:51
       DD8D479701A85D461DBA098582FBC5833F24FFF154C79939A98E81C26DEDD854
14     Info Hash:                                                         01-28-     Tushy     09-23-2017   10-09-2017   PA0002086134
       0C38052DA135D91590C9D84E79AC21628D9E9BB6                           2021
       File Hash:                                                         15:03:51
       ECAD33CF56FD7D92600D3CFDC62C7BAD8785454E8944113E2C5D123E526BEBE1
15     Info Hash:                                                         01-23-     Blacked   11-16-2017   11-21-2017   PA0002098042
       1331C09F5E9C1B5BAC97277942F7CFE5EAE93133                           2021
       File Hash:                                                         19:06:01
       626DBEF19B2578CC20ABDD2024733575548EAA77AA437391215295B6005E9F1A
16     Info Hash:                                                         01-23-     Blacked   06-22-2020   07-16-2020   PA0002248579
       6BB7E42B94F9EE1B4C4BFD79D7972BD27D47E83F                           2021       Raw
       File Hash:                                                         18:58:54
       E6313F93D753DC6CA3AAB2AA980D2BE5CA50650D3502A6AC077E51D03CB16A80
17     Info Hash:                                                         01-11-     Blacked   06-26-2019   08-27-2019   PA0002213245
       21D9AA5200CF2D2C57546E00D62C882BD820CFA7                           2021       Raw
       File Hash:                                                         18:06:42
       633DE19B5042516CF68BF03D9B7B93F7E04D463AAF7A92C6FD0A862AF9EFA954
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         01-11-     Blacked   07-09-2018   08-07-2018   PA0002131818
       9701451103679F5D5651971A15DE233D214BB122                           2021
       File Hash:                                                         13:44:49
       82CE426AC575D48C2DBD2CD5E5820098F010268340011C80A69E0B7A3B4CC322
19     Info Hash:                                                         01-11-     Tushy     08-19-2018   09-05-2018   PA0002134998
       8FC8CC42EE864EE4D299EE1268DFD94B12147B03                           2021
       File Hash:                                                         03:51:30
       75F6DAF3CDC0FE1DC0437BFE906A69471B248126667ED6D1FA5DD608C3107350
20     Info Hash:                                                         01-11-     Blacked   02-04-2019   03-24-2019   PA0002183208
       260B6A15B3A8C071E6B020C852AA650E5BCF6044                           2021
       File Hash:                                                         03:47:45
       A2C1610F4A30477AF4ED7E9AFF2D064E10EAFDF4F0DEBA1BB9A30AD193A2D0C9
21     Info Hash:                                                         12-30-     Tushy     10-23-2017   12-04-2017   PA0002098018
       348491D028380E09A820D32020245D6E81C1CF74                           2020
       File Hash:                                                         04:15:52
       AA8F1B317FBDDC718CDB60C8B7FE10EABD18A879658149E4239E63795F743CBD
22     Info Hash:                                                         11-09-     Blacked   04-04-2020   04-17-2020   PA0002237304
       089A334E08FB9D7BF03350D63AD8D401B6C48EEC                           2020
       File Hash:                                                         22:11:02
       3053112F46CFC5C06D9720DDBE693A0923BAEBB472ADF3E1B4BB91BCFE098C4D
23     Info Hash:                                                         11-01-     Vixen     08-17-2019   09-10-2019   PA0002199413
       CAA826F9C923642031C0DF6F327FF59E431479B7                           2020
       File Hash:                                                         20:29:57
       E2F738840E6E107E1A4FF663926131D28FB2183B5287A58B231EE5AE093479EE
24     Info Hash:                                                         10-31-     Vixen     08-07-2020   08-18-2020   PA0002253099
       B55273ACD9A5F8067AF457FE548B2F6B2F83C3CF                           2020
       File Hash:                                                         01:41:02
       64A3DD36E0979BE72DA5AB67B7F966675E2C10420C2A021210745E6684C67CA7
25     Info Hash:                                                         10-28-     Vixen     11-30-2018   12-18-2018   PA0002141918
       112F44AAEB428446B2368D0F8FB57765BE27D044                           2020
       File Hash:                                                         19:21:08
       96225DF0286806DF434A704A453B2DB47BD092623EE2AD64A84F07040BB2C1B1
